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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


                                               )
JOHN DOE,                                      )
                                               )
                 Plaintiff,                    )
                                               )
        v.                                     )       Civil Action No. 18-553 (RMC)
                                               )
THE GEORGE WASHINGTON                          )
UNIVERSITY,                                    )
                                               )
                 Defendant.                    )
                                               )

                    ORDER FOR INITIAL SCHEDULING CONFERENCE

                 The above-captioned case has been assigned to this Judge for resolution. The

Initial Scheduling Conference is set for February 13, 2019 at 10:00 a.m via teleconference.

Counsel who attend must be sufficiently familiar with the case to answer any questions that

arise; parties are welcome and are encouraged to attend.

                 Counsel shall confer at least 21 days prior to the above date and submit their

Report addressing all topics listed in Local Rule 16.3(c) no later than February 7, 2019.

Counsel are also directed to either include in their Report, or in a supplemental pleading to be

filed no later than 72 hours prior to the Initial Scheduling Conference, a brief statement of the

case and the statutory basis for all causes of action and defenses.

                 Counsel are required to comply with Local Rule 16.3, attached hereto as

Appendix I. In considering the case’s suitability for the various forms of alternative dispute

resolution, counsel are reminded that among their options are mediation, arbitration, early neutral

evaluation, summary jury trial, or any other form of alternative dispute resolution that can be

tailored to the needs of their case.
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               Extensions or enlargements of time will only be granted upon motion, showing

good cause, and not upon stipulation by the parties. See Fed. R. Civ. P. 6(b)(1); LCvR 16.4.

Motions for a continuance or other scheduling change must be filed three business days prior to

the hearing and must include alternative dates that have been agreed upon by all parties.

Requests that do not include an alternative date acceptable to all parties will be denied.

               The Court reminds both parties’ counsel that they are expected to conduct

themselves in a civil, polite, and professional manner at all times, particularly during discovery.

Counsel are referred to LCvR 26.2 and expected to conform fully with its directives. Moreover,

counsel are required, under both Fed. R. Civ. P. 26(f) and LCvR 7.1(m), to confer in good faith

in an effort to resolve disputes before bringing them to the Court’s attention. In the event that

counsel are unable to resolve a dispute, counsel shall contact chambers to arrange for a telephone

conference with the Court. Counsel shall not file motions regarding such disputes without a

prior telephone conference with the Court and opposing counsel.

               Parties are to communicate with the Court by motion, opposition, and reply—not

by letter. Inquiries concerning the status of any pending matter shall be directed to Judge

Collyer’s Career Law Clerk, Diane Shrewsbury, preferably by email (Diane_Shrewsbury@

dcd.uscourts.gov).

               In an emergency, however, Chambers can be reached at (202) 354-3560.



Date: January 15, 2019
                                              ROSEMARY M. COLLYER
                                              United States District Judge
